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UNITED STATES BANKRUPTCY COURT mm fl=§? _5 PH \2:1\8

 

 

 

 

FOR THE EASTERN DISTRICT OF TEXAS _ m 1 x l
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|nterphase Corporation 15-41732
DEBTOR(S) CASE NO.

lam a Credit@r :i in the above referenced bankruptcy case.
°’4‘“°‘.‘)" PO BOX 538193

My PREVIOUS address lsi
At|anta, GA 30353

 

 

Please CHANGE to the new address: PO BOX 931093
A'flanta, GA 31193-1093

 

 

DATE-: 3/29/201 8

DEBTOR SIGNATURE:

 

 

JOINT DEBTOR SIGNATURE
(If filed by Debtor)

 

NAME OF CREDITOR: GEC|TS NKA VVFVFS, LLC

AUTHORIZED SIGNATURE; pma/wag-

Loan Adjustor - Bankruptcy

 

TITLEZ
(If filed by Creditor)

 

Mail to: U. S. Bankruptcy Court
660 N. Centra| Expwy, Suite 300B
P|ano, TX 75074

